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NATALIE FINKELMAN BENNETTI
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March 30, 2022


VIA ECF
The Honorable Mitchell S. Goldberg
United States District Court
Eastern District of Pennsylvania
601 Market Street
Philadelphia, PA 19106

        Re: United States, ex rel. Sarah Behnke v. CVS Caremark Corp., et al.,
            Case No. 14-cv-00824

Dear Judge Goldberg:

Defendants’ March 28, 2022 letter to the Court claims there is “no live dispute properly before
the Court” (ECF 204, at 3) with regards to the discovery issues Relator raised in her March
15, 2022 letter (ECF 203). Relator writes to update the Court on the issues regarding the Rule
30(b)(6) Deposition that was the subject of the March 15, 2022 letter.

On March 28, 2022, after 8:00 p.m., Defendants served numerous Objections to Relator’s
December 30, 2021 Amended Notice of Rule 30(b)(6) Deposition (“Amended Notice”).
Notably, these objections, which unreasonably seek to narrow the scope of the topics,
including the five topics that are to be covered at the deposition currently scheduled for April
5, 2022, were served nearly three months after Relator served the Amended Notice, only after
Defendants’ recalcitrance forced Relator to seek the intervention of this Court, and almost a
month after Defendants provided the April 5, 2022 deposition date for certain topics set forth
in the Amended Notice.

Relator will attempt to meet and confer with Defendants but may need to seek the Court’s
intervention if the parties cannot resolve promptly Defendants’ late objections and other
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issues relating to Defendants’ Rule 30(b)(6) deposition which were raised by Defendants in
a letter that was also sent to Relator on March 28, 2022.

Respectfully,

/s/ Natalie Finkelman Bennett
Natalie Finkelman Bennett

NFB/sm

cc: All counsel via ECF
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                                  CERTIFICATE OF SERVICE


       I hereby certify that on March 30, 2022, the foregoing was filed electronically. Notice of

this filing will be sent to all parties by operation of the Court’s electronic filing system. Parties

may access this filing through the Court’s system.


                                               /s/Natalie Finkelman Bennett
